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IN THE UNITED sTATEs DISTRICT coU&g~ " 0 _
FoR THE WESTERN DISTRICT oF TENNEssE§/a’/ fm “» 53

 

EASTERN DIVISION OQ
UNITED STATES OF AMERICA, )
Plaintiff, §
VS. § No. 04-10085-T-An
ANTHONY VASSER, §
Deferldant. §

 

ORDER GRANTING MOTION TO SUPPLEMENT RECORD

 

Defendant has submitted a request to supplement the record pursuant to Rule
lO(e)(Z)(B) of the Rules of Appellate Procedure. This rule provides for the correction or
modification of the record on appeal

lf anything material to either party is omitted from or misstated in the record

by error or accident, the omission or misstatement may be corrected and a

supplemental record may be certified and forwarded:

(B) by the district court before or after the record has been forwarded . . . .

Fed. R. App. P. lO(e)(Z)(B). Rule 10(e) cannot be used to add to or enlarge the record on

appeal to include material Which Was not before the district court. United States v. Garcia,

997 F.Zd 1273, 1278 (9th Cir.l993); Borden Inc. V. FTC, 495 F.2d 785, 787-88 (7th Cir.

 

1974); United States ex rel. Mulvaney V. Rush, 487 F.Zd 684, 687 (B'd Cir. 1973); 16 Fed.

Prac. and Proc. § 3956.

Thls document entered on the docket sheet fn compllance

with nme 55 and/er ez(b) FaorP on gm ' |Ll /O§ F§\

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The supplement to the record submitted by Defendant is a document entitled
"Defendant’s Special Requests for Jury Instruction." This document was presented to the
court on December 14, 2004, but was not made a part of the record Because it appears that
the document Was omitted "by error or accident" as required by Fed R. App. P. lO(e)(Z)(B),
and is not new evidence, g Schreier v. Weigm Watchers Northeast Region. Inc., 872 F.
Supp. l, 3 (E.D.N.Y. 1994)(“The purpose of this rule is to correct omissions from--or
misstatements in--the record on appeal, not to introduce new evidence in the court of
appeals.”), Defendant’s motion to supplement the record is GRANTED.

The clerk is DIRECTED to tile the document entitled "Defendant’s Special Requests
for Jury Instruction" which is attached to Defendant’s motion to Supplement the record and
to forward this document to the Court of Appeals for inclusion in the record

IT lS SO ORDERED.

@WM.M

J ES D. TODD
ITED STATES DISTRICT JUDGE

DATE U

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
case l:04-CR-10085 was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed

ENNESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

